         Case 1:18-cv-07004-JGK Document 87 Filed 10/19/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ABDELIM AZAB
                        Plaintiff ,
                                                    18                 CV          7004 (JGK)

             - against -                         ·, ORDER --- - - - -· · -- · · . .. .                                            -·
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CITY OF NEW YORK, ET AL.                          ii lJ f"'\r: J,. K-:=; '.' r-r
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                        Defendants .                                                            . ·--                 J


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JOHN G. KOELTL, District Judge :                  !l;.:~~_:··.~ - -101,;,-;;.o;.a :·
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     The parties should respond to the application to unseal any

sealed documents in this case at Dkt . No. 86 by November 2,

2020. The applicant may reply by November 16, 2020.                                                         A copy of

this Order will be sent to the applicant at his email address.

SO ORDERED.

Dated:       New York, New York
             October 19, 2020
                                                 John G. Koeltl
                                          United States District Judge
